          Case 1:17-cr-00201-ABJ Document 518 Filed 02/20/19 Page 1 of 2



                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


                                                  )
 UNITED STATES OF AMERICA                         )
                                                  )
                     v.                           )        Criminal No. 17-201 (ABJ)
                                                  )
 PAUL J. MANAFORT, JR.,                           )
                                                  )
                          Defendant.              )
                                                  )

            PAUL J. MANAFORT, JR.’S UNOPPOSED MOTION FOR AN
         EXTENSION OF TIME TO FILE HIS SENTENCING MEMORANDUM

        Defendant Paul J. Manafort, Jr., by and through counsel, moves this Court for an extension

of the time to file his Sentencing Memorandum from February 22, 2019 until February 25, 2019.

In support of his motion, defendant states as follows:

        The Court previously established a February 22, 2019 deadline for the submission of

sentencing memoranda. With that date in mind, defense counsel have been diligently preparing

the pleading and reviewing drafts with Mr. Manafort. However, due to the current weather in the

Washington, D.C. area, it will be difficult to get a final draft to Mr. Manafort and to ensure

sufficient time to get his input, incorporate it, and to have him review the final product prior to the

filing deadline. As a result, Mr. Manafort asks for an extension of the time to file his Sentencing

Memorandum until February 25, 2019.

        Defense counsel has conferred with the OSC about the requested extension. The OSC has

stated it does not object to this request.
        Case 1:17-cr-00201-ABJ Document 518 Filed 02/20/19 Page 2 of 2



       WHEREFORE, Mr. Manafort requests that the Court extend the time for filing his

Sentencing Memorandum to February 25, 2019.



Dated: February 20, 2018                          Respectfully submitted,

                                                   /s/
                                                  Kevin M. Downing
                                                  (D.C. Bar No. 1013984)
                                                  Law Office of Kevin M. Downing
                                                  601 New Jersey Avenue NW, Suite 620
                                                  Washington, DC 20001
                                                  (202) 754-1992
                                                  kevindowning@kdowninglaw.com

                                                    /s/
                                                  Thomas E. Zehnle
                                                  (D.C. Bar No. 415556)
                                                  Law Office of Thomas E. Zehnle
                                                  601 New Jersey Avenue NW, Suite 620
                                                  Washington, DC 20001
                                                  (202) 368-4668
                                                  tezehnle@gmail.com

                                                   /s/
                                                  Richard W. Westling
                                                  (D.C. Bar No. 990496)
                                                  Epstein Becker & Green, P.C.
                                                  1227 25th Street, N.W.
                                                  Washington, DC 20037
                                                  Tel: 202-861-1868
                                                  Fax: 202-296-2882
                                                  Email: rwestling@ebglaw.com

                                                  Counsel for Defendant Paul J. Manafort, Jr.




                                              2
